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VICK[E JONES,

Plaintiff,
v. NO. 04-2009 MafV
WESLEY NEUROLOGY CLINIC,

Defendant.

 

JOINT PRE-TRIAL ORDER

 

The parties, by counscl, having proposed this Joint Pre-Trial Order, the CouIt finds and
orders the following:

l. Nature of Action and Jun`sdiction

This action involves claims under the Age Discrimination in Employment Act of 1967,
29 USC §621, et seq., the Americans with Disabilities Act, 42 USC §12101, et seq., and claims
under the Tennessee Human Rights Act. Juri sdiction is conferred by 29 U.S.C. 1331.

2. Pending Motions

There are no pending motions in this cause.

3. Status of Pleadings

The pleadings are complete

4. Status of Discovery

One fact witness, Leigh Marks, has not yet been deposed due to avoidance or lack of

service of process.

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with Rule 58 and}or T9(

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5 . Settlement Negotiations

The parties have unsuccessfully discussed settlement

6. Contentions of Plaintiff Vicl<ie J ones

The Plaintiff, Vickie Jones, was hired on at Wesley Neurology Clinic on April 17, 2000
as a Medical Assistant. Plaintiff was terminated on July 3, 2004 for displaying "a pattern of
absenteeism prior to time off" according to the employer Plaintiff has never been written up for
any disciplinary problems prior to her terminationl Vickie J ones supervisor was Dr. Stephen
Landy. Vickie .T ones was seen for pain by Dr. Landy on March 3, 2003 and again on J ul y 2, 2003
for back pain. On March 3, 2003, Dr. Landy signed a medical evaluation of Plaintiff stating that
she would need to continue arthritis medication for elbow pain she had had for approximately
two months. Plaintiff moved between five and seven thousand charts from file cabinets to the
waiting room floor on July 1, 2003. The next morning Plaintiff came in early and refilled all the
files. Due to the excess hours worked, Plaintiff’s back hurt so badly that she could hardly move.
Dr. Landy conducted a nerve conduction test on the Plaintiff’s back and stated that nothing
showed up. By Thursday, July 3, 2003, morning, Plaintiff could not move because her back hurt
so badly. Plaintiff followed the same procedure she had for the past three years of employment
with Wesley Neurology; she gave the key to the narcotics cabinet to Leigh and Leigh Marks was
to give it to Dr. Landy and inform him that the Plaintiff would be out sick for the day. On July 3,
2003, Plaintiff received a phone call a few minutes after 5:00 p.m. from Leigh Marks stating that
the Plaintiff was going to be fired. Plaintiff immediately called Dr. Landy at his home to ask him
why this was happening Dr. Landy stated to Plaintiff that she was being fired because of her
age, because she was raising her grandkids and because she "hurt". Plaintiff reiterated this to Dr.

Landy in the presence of Rick Gay and Ronnie Gay. Dr. Landy on previous occasions has stated

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to Plaintiff that he was amazed that she could work at her age and while raising her
grandchildren. On one occasion, Dr. Landy stated to Plaintiff that he had hired Plaintiff when she
was not raising grandchildren and not responsible for anything else. Plaintiff was scheduled for
vacation leave from July 7, 2003 to July ll, 2003. Plaintiff did not receive a termination letter in
the mail and went to the office on July 14, 2003. She was met by both Leigh Marks and Dr,
Landy asking her "What thel fuck [she] was doing there". Plaintiff was told that she would need to
drive down to the corporate office to pick up her termination letter. The reasons stated in
Plaintiff’s termination letter are fabricated and false, said allegations made by Dr. Landy and
Wesley Neurology in an attempt to cover the real reasons Dr. Landy fired Vickie Jones which
Were discrimination due to her disability and age. Plaintiff’s position was filled by a 35 year old
female. Wesley Neurology's Employee Handbook states that they use a progressive discipline
format where in " verbal notice is first given to an employee", then "written warning suspension,
or, as a last resort, discharge based upon a supervisor's judgment."

Wesley Neurology violated its own policies and procedures Vickie J ones was never
given any verbal or written warnings or suspensions prior to her termination Plaintiff was
awarded unemployment compensation on August 8, 2003 as there was no evidence of prior
warning and the employer had not provided sufficient evidence to prove the Plaintiff's actions
constituted work related misconduct Plaintiff filed a charge of discrimination with the Equal
Employment Opportunity Commission (hereinafter "EEOC"), Memphis Area Office, pursuant to
the provisions of 42 U.S.C. § 2000 et seq., which charge was assigned Charge No. 250-2004-
00082, alleging Disability and Age Discrimination. Age and disability were undoubtedly a factor
when these employment decisions were made concerning the Plaintiff. Therefore, the Plaintiff

avers and believes that the foregoing treatment afforded her was made and done with the intent

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and effect of discriminating against and harassing her because of her age and disability

All of the above acts of Defendant set forth hereinabove constitute outrageous
misconduct and have caused and will continue to cause the Plaintiff extreme mental and physical
pain, agony and anguish, loss of income and employment opportunities, extreme loss of social
standing and reputation and loss of the enjoyment of life, for all of which the Plaintiff sues. The
process of complaint and investigation offered by the Defendant is in violation of federal statutes
and codes and the case law interpreting them. At all times relevant hereto, Defendant and its
officers, administrators and employees Were acting pursuant to the authority provided to them by
Wesley Neurology. Plaintiff sues for lost wages, prospective lose wages and other economic
damages to her as well as damages for emotional and psychological distress endured in addition
to damages for violations of her constitutional and civil ri ghts.

'/'. Contentions of Defendant Wesley Neurology Clinic

Defendant hired Plaintiff on April 17, 2000 to work with Dr. Steven Landy, who was
principally responsible for the decision to hire Plaintiff. Between her hire in April of 2000 and
her termination on July 3, 2003, Plaintiff had consistent attendance problems

Plaintiff suffered from some pain, but nothing which affected a significant life activity.
She was not disabled as of July 3, 2003.

On July 3, 2003, the day before a holiday and the day before a scheduled week long
vacation, Plaintiff did not report to work and failed to call in to advise her employer of her
proposed absence.

Because this absence indicated a continuing abuse of the attendance policy, and because
Dr. Landy was without either Plaintiff’s assistance on July 3, 2003 or notice as to her absence,

Dr. Landy initiated Plaintiff’s termination

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Later that day, Plaintiff telephoned Dr. Landy at his home and inquired as to the reasons

for her termination During that conversation, Dr. Landy gave Plaintiff no reason to believe that

either her age or her physical condition had anything to do with his decision to terminate her

employment

Neither Plaintiff’s age nor her physical condition played any role in Defendant’s decision

to terminate her employment

Defendant has suffered no damages as a result of the loss of employment as she claims

to be physically unable to work.

This case should be dismissed at Plaintiff’s cost

8. Stipulations

 

a. Vickie J ones was hired on April 17 , 2000 as a medical assistant

b. Vickie J ones never received Written disciplinary action from Wesley
Neurology throughout her employment

c. Defendant terminated Plaintiff’s employment on July 3, 2003.

d. Defendant compensated Vickie J ones at the rate of $13.75 per hour as of
July 3, 2003.

9. Plaintiff’s Contested Issues of Fact and Law

a. Whether the Defendants violated the Americans with Disabilities Act.

b. Whether the Defendants have violated the Age Discrimination in
Employment Act of 1967 and the Americans with Disabilities Act.

c. Whether the Defendant "perceived" Ms. J ones to have a disability.

d. Whether Dr. Landy made comments about Ms. J ones age, grandkids and

"hurting".

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e. Damages, including punitive.
f. Attomey’s Fees
10. Defendant’s Statement of Contested Issues of Fact:
l. Whether Plaintiff’s age or physical condition motivated Defendant to

terminate her employment

2. Whether Plaintiff had a disability within the meaning of the ADA?

3. Whether Plaintiff suffered any wage loss as a result of discrimination
based on her age or physical condition?

4. Whether Plaintiff properly mitigated her damages?

5. Whether Plaintiff can establish a “willful” violation of the ADEA on the
part of the employer which would entitle the Plaintiff a right to claim liquidated damages under
the ADEA‘?

ll. Plaintiff’s Witnesses

a. Will Call

1. Vickie J ones

2. Ronnie Gay
3. Rick Gay
b. May Call

1. Dr. Stephen Landy

2. Leigh Srnith-Marks, 3797 Rockwood Avenue, Memphis,
Tennessee 38122.

3. Becl<y Beffingfield, Wesley Neurology Germantown, Tennessee

Office

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4. Kathy Person

5. Deborah Mitchell

6. James R. Lucas, 1211 Union Avenue, Suite 400; Memphis,
Tennessee 38104

7. Judy McGinnis

8. Dr. Anwar Manugian, 7655 Poplar Avenue, Suite 260, Memphis,
Tennessee 38134; (901) ?56-0068

9. Any of Defendant’s witnesses

12. Exhibits

El.

Plaintiff’s exhibits:

Wesley Neurology Patient Registration Form of Vickie J ones

Wesley Neurology Medical Records of Ms. Vickie ] ones

Wesley Neurology Office Evaluations of Ms. Vickie J ones dated 3/3/03,
4/9/03, 6/10/03

Wesley Neurology laboratory test results ID# 56491

Defendant's Responses to Plaintiff’s Interrogatories and Request for
Production of Documents

Defendant's Supplemental Responses to Plaintiff’s Interrogatories and
Request for Production of Documents

Separation Notice, Completed and Released to Employee on July 3, 2003,
signed by J im Lucas

Tennessee Department of Labor and Workforce Development Division of

Employment Security Agency, Decision, showing Claim Date of July 14,

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2003 and Monetary Determination.

Families First Approval Letter showing mail date of November 12, 2003
Letter from Vickie J ones to Mr. John Williams, Labor Standards Inspector
dated September 9, 2003.

Tennessee Department of Labor and Workforce Development Statement
of Claim for Wages or Rest/Lunch Period

Vickie Jones personnel file

Attendance Cards of Vickie Jones

Request for Vacation Time from Vickie J ones dated April ll, 2003.
Memo to All Wesley Employees from Mary Arm Bolden dated July 21,
2003, re: Time Off Request

Vickie J ones resume

Application of Vickie Jones

Equal Employment Opportunity Commission (EEOC) Notice of Charge of
Discrimination dated October 7, 2003 signed by Ms. Katherine Kores
EEOC Notice of Rights dated October 7, 2003 of Vickie Jones.

EEOC Charge of Discrimination filed October 6, 2003 of Vickie J ones
Acknowledgement of Initial Report of Loss from CAN re: Vickie J ones
Fax to CNA from John Lucas dated July 28, 2003 and attachments
Request for Separation Information from Tennessee Department of Labor
and Workforce Development to Wesley Neurology re: Vickie J ones
Subpoena of Leigh Marks for deposition on June 9, 2000.

Request for earned vacation time from Attorney Mullikin dated March 3,

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2004.
Sign In sheet from Wesley Neurology hand dated April 25
Evaluation of Deborah Mitchell dated April 25, 2003
Treatment sheet of Deborah Mitchell dated April 25, 2003
Copies of receipts numbered: 082838-082843 and 082675-082678
Deposition of Vickie Jones and Exhibits
Deposition of Rick Gay and Exhibits
Deposition of Ronnie Gay and Exhibits
Stephen H. Landy, M.D. September 25, 2003 note to file of Phyllis Carol
Burnett
b. Defendant’s exhibits:
Defendant will introduce Plaintiff’s personnel file, and may introduce any
exhibit listed by Plaintiff
13. Defendant’s Objections
Defendant reserves any objections to the admissibility of all or parts of certain witness’
testimony pursuant to the Federal Rules of Evidence.
Defendant objects to any testimony offered through any witness who was not properly
disclosed pursuant to Rule 26.
Defendant objects to testimony through deposition of any witness without a showing of
unavailability
Defendant objects to the testimony of witness testimony through deposition without first
designating said testimony pursuant to Federal Rule of Civil Procedure 26(a)(3)(B) and the time

requirements and procedures specified by those rules.

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Defendant objects, as a preliminary matter, to the eliciting of hearsay testimony of any of
these witnesses and requests that the Court require Plaintiff’s counsel to establish appropriate
foundational facts before eliciting responses from any witness

Further, while Defendant may stipulate to the authenticity of certain documents,
Defendant will still require Plaintiff to establish an evidentiary basis for the same and reserves all
objections until the time of tri al.

14. Defendant’s Witnesses:

Defendant will call at tri al Stephen Landy, M.D. and J ames Lucas.

Defendant may call at tri al the following witnesses by live testimony or by deposition
(upon a showing of unavailability):

Vickie J ones

Leigh Marks

Judy McGinnis

Any witnesses listed by Plaintiff in her pretrial disclosures or called by Plaintiff to testify
at trial;

Undisclosed rebuttal witnesses required by contingencies of proof.

If any of the above witnesses become unavailable, the deposition of such witness may be
used as a testimonial substitute The depositions of all witnesses who have been deposed in this

case will be used for impeachment purposes

15. Trial
a. Counsel estimates the length of this bench trial at two (2) days.
b. This Pre~Trial Order has been formulated at a pre-trial conference before

the United States District Judge, notice of which was duly served upon all

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parties at which the parties attended as herein above shown Reasonable

opportunity has been afforded for corrections or additions prior to signing

This Order will control the course of the trial, as provided by Rule 16,

Federal Rules of Civil Procedure, and it may not be amended except by

order of the court

c. This trial will be bifurcated for punitive damage purposes if punitive

damages are allowed

d. If the Plaintiff or Defendants intend to use additional witnesses or exhibits

at trial, counsel will report the name and address of each witness and/or

provide each exhibit to the opposing counsel With the exception of rebuttal

Witnesses, whose testimony cannot reasonably be anticipated

 

nasa this ?'° W\day er May, 2005.

jj {/m.

 

% UNITED sTATEs DrsrchT JUDGE

RANDALL B. TOLLEY/
Attomey for Plaintiff

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HE Ci srrniroN, 111
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VICKIE LYNN JONES ADDl'l`IONAL EXHlBlTS

Vickie Jones W2 form for 2003

Deposition of Leigh Marks

Statement of Leigh Marks dated

Tennessee Department of Workforce Development Employer’s First Report of Work
Injury or Illness prepared by Jim Lucas

Statement from Stephen Landy to Jim Lucas not dated Re: events of July l, 2003
Letter from John Michael Bailey to Wesley Neurology dated July 16, 2003

Letter to CNA from Jim Lucas dated July 28, 2003

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CV-02009 was distributed by fax, mail, or direct printing on
June 7, 2005 to the parties listedl

EsSEE

 

Henry C. Shelton

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Honorable Samuel Mays
US DISTRICT COURT

